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                         No. 23-15049

     IN THE UNITED STATES COURT OF APPEALS
             FOR THE NINTH CIRCUIT

                   THERESA SWEET, et al.,
                                                      Plaintiffs-Appellees,
                                &
              EVERGLADES COLLEGE, INC.,
                                                    Intervenor-Appellant,
                                v.
                  MIGUEL CARDONA, et al.,
                                                    Defendants-Appellees.

        On Appeal from the United States District Court
            for the Northern District of California
          No. 3:19-cv-3674 | Hon. William H. Alsup

 INTERVENOR-APPELLANT’S UNOPPOSED MOTION
         TO CONSOLIDATE APPEALS

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                                     Everglades College, Inc.
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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1, Intervenor-Appellant

Everglades College, Inc., states that it is not a publicly traded corporation, that it

does not have a parent corporation, and that no publicly traded company owns 10%

or more of its stock.




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      Pursuant to Federal Rule of Appellate Procedure 27 and Circuit Rule 27-1,

Intervenor-Appellant Everglades College, Inc. (“ECI”) moves to consolidate three

related appeals pending before this Court: Sweet v. Everglades College, Inc., No.

23-15049; Sweet v. Lincoln Educational Services Corp., No. 23-15050; and Sweet

v. American National University, No. 23-15051. These appeals arise from a single

final judgment in a class action filed under the Administrative Procedure Act. See

Sweet v. Cardona, No. 3:19-cv-03674-WHA (N.D. Cal.). Each appellant is a

similarly situated school that intervened in the district court proceedings to object to

settlement of this class action. After the district court approved the settlement over

the schools’ objections, see id., Doc. No. 344, and entered final judgment, see id.,

Doc. No. 346, each appellant timely appealed and jointly moved the district court to

stay the judgment pending appeal. That motion is pending.

      Appellants intend to raise overlapping issues on appeal and, with leave of the

Court, to file joint briefing. Consolidating these appeals would therefore serve the

interest of judicial economy, streamline the briefing and oral argument, and ensure

consistent outcomes in all three appeals. Plaintiffs-Appellees and Defendants-

Appellees do not oppose consolidation. Simultaneous with this motion, Intervenor-

Appellants Lincoln Educational Services, Corp. and American National University

have also moved in their respective appeals to consolidate all three appeals. ECI

therefore respectfully requests that this Court consolidate all three appeals.

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                                            Respectfully submitted.

Dated: January 30, 2023                     /s/ Jesse Panuccio

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                      CERTIFICATE OF COMPLIANCE

      The motion complies with the word limit of Rule 27(d)(2)(A) of the Federal

Rules of Appellate Procedure, as it contains 229 words, excluding the portions

exempted by Rule 32(f).

      The motion also complies with the typeface requirements of Rule 32(a)(5)(A)

and the type-style requirements of Rule 32(a)(6) because it has been prepared in a

proportionally spaced typeface using Microsoft Word 2016 in 14-point, Times New

Roman font.


Dated: January 30, 2023                      By: /s/ Jesse Panuccio

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                           CERTIFICATE OF SERVICE

      I certify that on January 30, 2023, the foregoing motion was electronically

filed with the Clerk of the Court for the United States Court of Appeals for the Ninth

Circuit through the appellate CM/ECF system, which will send a notification of such

filing to all counsel of record.


Dated: January 30, 2023                       By: /s/ Jesse Panuccio

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